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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


COMMON CAUSE FLORIDA, et al.,

      Plaintiffs,

      v.                                     Case No. 4:22-cv-109-AW/MAF

CORD BYRD, in his official capacity as
Florida Secretary of State, et al.,

     Defendants.
_____________________________/

DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
       OR, IN THE ALTERNATIVE, MOTION TO STAY

      Defendants Governor Ron DeSantis and Secretary of State Cord Byrd file this

reply in support of their motion to dismiss or, in the alternative, motion to stay.

Attached is their memorandum of law.




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                                                Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 15, 2022, I electronically filed the foregoing with the

Clerk of Court by using CM/ECF, which automatically serves all counsel of record for

the parties who have appeared.

                                                  /s/ Mohammad O. Jazil
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                             MEMORANDUM OF LAW

       Defendants’ motion fully explains why this Court should dismiss the amended

complaint or, in the alternative, stay this case. This reply makes four brief points in

response to Plaintiffs’ opposition. Doc. 109. Specifically, the Governor is not a proper

defendant; Plaintiffs failed to plausibly allege standing; Plaintiffs failed to plausibly

allege intentional discrimination; and these federal proceedings should be stayed in light

of the state ones.

                                             I.

       First, both parties agree that the Secretary is a proper Ex parte Young defendant;

however, Plaintiffs contend that the Governor is one too. According to Plaintiffs, (1)

the Governor orders and directs the Secretary, and (2) the Governor was the primary

force behind the Enacted Map. Doc. 109 at 2-8.

       Tellingly, Plaintiffs fail to address the question of what, if any, relief this Court

can order against the Governor. Because that answer is none, the Governor is not a

proper Ex parte Young defendant. See Supporting Working Animals, Inc. v. Gov. of Fla., 8

F.4th 1198, 1201 (11th Cir. 2021) (explaining that a proper defendant is one against

whom “an injunction prohibiting enforcement would be effectual”); see also Supporting

Working Animals, Inc. v. DeSantis, 457 F. Supp. 3d 1193, 1210 (N.D. Fla. 2020) (noting

that the requirements of Ex parte Young overlap with the standing requirements,

including redressability, and dismissing state defendants under Ex parte Young).




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       Turning to Plaintiffs’ points, the Governor’s supervisory power over the

Secretary is simply a general executive power, like the Governor’s power to take care

that state laws are enforced. See Doc. 104 at 6 (citing cases). And that power underscores

that another state official has a better and more direct “connection” to the challenged

state action that Plaintiffs seek to enjoin—making that state official, and not the

Governor, the more appropriate Ex parte Young defendant. See generally Women’s

Emergency Network v. Bush, 323 F.3d 937, 949-50 (11th Cir. 2003) (“Where the

enforcement of a statute is the responsibility of parties other than the governor,” “the

governor’s general executive power is insufficient to confer jurisdiction.”); see also Doc.

104 at 7 (explaining the Secretary’s election duties).

       The Ex parte Young inquiry also does not turn on whether the Governor has

plenary or shared supervisory authority over the enforcing official. This Court

previously dismissed the Governor as a party in a case concerning the Agency for

Healthcare Administration and the Agency for Persons with Disabilities—agencies

whose heads only he oversees. Dykes v. Dudek, No. 4:11-cv-116, 2011 WL 4370608, at

*5 (N.D. Fla. Sept. 19, 2011); see also Fla. Stat. § 20.197 (Agency for Persons with

Disabilities); Fla. Stat. § 20.42 (Agency for Healthcare Administration). In doing so, this

Court explained that “the Governor’s responsibility over” “agencies” or departmental

heads “amounts to general executive power[,] which is not sufficient to permit

jurisdiction over him,” making no distinction between agencies he oversees by himself

or with others as part of a collegial body. Dykes, 2011 WL 4370608, at *6.

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“[I]nvestigating and reviewing” administrative actions “are part of his normal functions

of administration,” and don’t fit within Ex parte Young. Id.

       Plaintiffs also fail in their attempt to make the Governor the proper Ex parte

Young defendant through the supposedly “unique set of facts putting the Governor

himself at the center of the events underlying this case.” Doc. 109 at 3. This Court

rejected such an argument days ago in Falls v. DeSantis, No. 4:22-cv-00166, Doc. 68

(N.D. Fla. July 8, 2022). The plaintiffs in Falls considered their case and facts to be

unique and sufficient to turn the Governor’s support for supposedly controversial

legislation into an invitation to sue him. But this Court reiterated that the Governor’s

“general executive authority to” “oversee the executive branch, standing alone, is

insufficient to make him the proper party whenever a plaintiff seeks to challenge the

constitutionality of a law.” Id. at slip op. 2 (cleaned up). Again, what matters is which

state official can provide the plaintiff with complete relief. Here, that official is not the

Governor of Florida.

       At best, assuming for the sake of argument that Plaintiffs are correct that the

Governor is a proper defendant, the Governor’s inclusion would be redundant. If the

purpose of the Ex parte Young exception to state sovereign immunity is to “permit the

federal courts to vindicate federal rights,” Va. Office for Prot. & Advocacy v. Stewart, 563

U.S. 247, 254-55 (2011) (citation omitted), and if the way to meet that purpose is to hail

into federal court the state official who is responsible for enforcing the challenged state

law and who can provide the plaintiff with relief, see Grizzle v. Kemp, 634 F.3d 1314, 1319

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(11th Cir. 2011), then Plaintiffs have failed to explain how the Governor can provide

any additional relief distinct and apart from the Secretary. After all, the Secretary is the

chief election officer of the state. Plaintiffs can get complete relief, if this Court

ultimately sides with Plaintiffs, from the Secretary. Including the Governor as a separate

defendant thus makes little sense. See, e.g., Brenner v. Scott, 999 F. Supp. 2d 1278, 1286

(N.D. Fla. 2014) (dismissing the Governor and Attorney General on the redundant-

defendant basis, and reasoning that “an order directed to the Secretary” of the

Department of Health or “Surgeon General” “will be sufficient to provide complete

relief”); Children A & B v. State, 355 F. Supp. 2d 1298, 1300 (N.D. Fla. 2004) (dismissing

state defendants on that basis).

                                            II.

       Second, Plaintiffs say (1) that Common Cause, FairDistricts Now, and Florida

State Conference of the NAACP have organizational and associational standing; and

(2) the organizations have standing to challenge District 13 and District 14. Doc. 109

at 9-13. They say this is so because threadbare allegations are enough at the pleading

stage. Not true.

       “Threadbare recitals of” “elements,” “supported by mere conclusory

statements,” don’t “suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The pleading

rule contains no exceptions for pleading Article III standing.

       Plaintiffs here merely conclude—without sufficient factual allegations—that

their organizations have standing under a diversion-of-resources theory. They don’t

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sufficiently “explain where” they “would have to divert resources away from in order

to spend additional resources on combating the effects of the” state’s “alleged

conduct.” GALEO v. Gwinnett Cnty. Bd. of Registration & Elections, No. 20-14540, 2022

U.S. App. LEXIS 15743, at *20 (11th Cir. June 8, 2022) (cleaned up). True, the Eleventh

Circuit said in GALEO that “broad allegation[s] of diversion of resources” were

sufficient at the pleading stage for the GALEO plaintiffs. Id. at *22. But broad

allegations are not the same as conclusory allegations. Unlike Plaintiffs here, the

GALEO plaintiffs pled what resources they would divert and the place from which

they would divert those resources. Compare Doc. 104 at 10 n.1 (quoting the GALEO

second amended complaint), with Doc. 97 ¶¶ 3-5.

       Plaintiffs also say that they have established associational standing without

identifying at least one specific member allegedly harmed by the state. That’s enough,

per Plaintiffs, because their organizations have some members somewhere in each

congressional district. See generally Doc. 109 at 13. But the U.S. Supreme Court and the

Eleventh Circuit have rejected this kind of “probabilistic analysis.” Ga. Republican Party

v. SEC, 888 F.3d 1198, 1203-04 (11th Cir. 2018) (quoting Summers v. Earth Island Inst.,

555 U.S. 488, 492-97 (2009)). In turn, the Eleventh Circuit requires Plaintiffs to “make

specific allegations establishing that at least one identified member has suffered or will

suffer harm.” Id. Pleading that at least one member of the organizations resides in one

of the affected congressional districts is thus an absolute.




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       Plaintiffs rely on Doe v. Stincer, 175 F.3d 879, 881 (11th Cir. 1999), to suggest that

no such identification is necessary. Doc. 109 at 12. Decided at the summary judgment

stage, Doe pre-dated the prohibition on probabilistic standing—a prohibition

established by cases like Summers (in 2009) and Georgia Republican Party (in 2018). Doe is

also a pre-Iqbal case and didn’t need to square its analysis with Iqbal’s pleading standards.

In sum, Plaintiffs can’t say that they have standing because some of their members are

probably harmed.

       Since the organizational Plaintiffs don’t have standing, and because no individual

Plaintiff lives in Districts 13 or 14, Plaintiffs’ claims concerning these districts should

be dismissed. See Doc. 104 at 11-12. Two individual Plaintiffs have standing to challenge

only enacted Districts 2 and 10.

                                            III.

       Third, the amended complaint doesn’t state a claim for relief under the

Fourteenth and Fifteenth Amendments. Suggestions that an intentional discrimination

case must always proceed past the pleading stage are misplaced.

       Iqbal itself was an intentional discrimination case. 556 U.S. at 662. In Iqbal,

Plaintiffs’ factual allegations of invidious discrimination were dismissed “given more

likely explanations.” Id. at 681. And the U.S. Supreme Court concluded that the

allegations “amount[ed] to nothing more than a formulaic recitation of the elements of

a constitutional discrimination claim, namely, that” the defendants “adopted a policy




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because of, not merely in spite of, its adverse effects upon an identifiable group.” Id.

(cleaned up).

       So too here. For example, Plaintiffs’ allegation that the delay in calling a special

election in 2021 doesn’t demonstrate intentional discrimination, Doc. 97 ¶¶ 33-39,

given the presumption of good faith that must be accorded. League of Women Voters of

Fla. v. Fla. Sec’y of State, 32 F.4th 1363, 1373 (11th Cir. 2022). That presumption (coupled

with likelier explanations) could establish that the local supervisor of election suggested

a schedule for the special election but then changed his mind. See Iqbal, 556 U.S. at 681;

see also Doc. 104 at 21. The same is true of efforts to redraw some districts, Doc. 97 ¶

101, where the “more likely explanation[]” is that the state sought to draw more

compact congressional districts and adhere to traditional districting criteria. Iqbal, 556

U.S. at 681; see also Doc. 104 at 20. Plaintiffs must plead sufficient facts to show that the

action taken was done “because of,” not “in spite of,” race. Pers. Adm’r of Mass. v. Feeney,

442 U.S. 256, 279 (1979). That they haven’t done.

       What’s more, in their opposition memorandum, Plaintiffs suggest that their

amended complaint “presents detailed factual allegations which go to the heart of

multiple Arlington Heights” factors. Doc. 109 at 21 (cleaned up). These allegations don’t

“nudge[]” their “claims of invidious discrimination across the line from conceivable to

plausible” either, Iqbal, 556 U.S. at 680, especially considering the factors’ refinement

under Greater Birmingham Ministries v. Secretary of Alabama, 992 F.3d 1299 (11th Cir. 2021).

While Plaintiffs state that “Florida has a long and unbroken history of anti-Black voter

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suppression, including recent actions by Governor DeSantis,” Doc. 109 at 21, ¶ 2,

Greater Birmingham clarifies that the historical inquiry must be “[]limited” and that a

state’s “history” cannot “ban[] its legislature from ever enacting otherwise constitutional

laws about voting.” 992 F.3d at 1325. And while Plaintiffs rely on, in part, statements

from legislative opponents of the Enacted Map to establish legislative intent to

discriminate, Doc. 109 at 21, ¶ 5, Greater Birmingham questioned whether statements

from the sponsor of the at-issue state law can establish legislative intent. 992 F.3d at 1323-

25. Statements from the opponents are even less instructive. See Butts v. NYC, 779 F.2d

141, 147 (2d Cir. 1985) (“The Supreme Court has” “repeatedly cautioned” “against

placing too much emphasis on the contemporaneous views of the bill’s opponents.”

(emphasis added) (collecting citations)); Mercantile Tex. Corp. v. Bd. of Governors of Fed.

Reserve Sys., 638 F.2d 1255, 1263 (5th Cir. Unit A Feb. 1981) (same).

       At base, as described more fully in the Defendants’ motion, Plaintiffs’ conclusory

allegations regarding discriminatory intent and effect don’t satisfy Iqbal. Doc. 104 at 12-

22. And at best, Plaintiffs’ amended complaint asserts a novel constitutional theory, that

a race-neutral redistricting plan is unconstitutional and therefore demands a race-based

redraw. This theory turns the Equal Protection Clause on its head. Doc. 104 at 16-18.

It should be rejected, and the amended complaint should be dismissed.

                                             IV.

       Fourth, Plaintiffs contend that the state court case Black Voters Matter Capacity

Building Institute, 2022-CA-000666 (Fla. 2d Cir. 2022), doesn’t provide a basis for a stay.

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Doc. 109 at 29. According to Plaintiffs, “there is no guarantee that the state-court action

will be adjudicated on the merits or in advance of the next election cycle.” Doc. 109 at

31. Yet, just yesterday, on July 14, 2022, the state court held a hearing on the legislator-

defendants’ motion to dismiss and granted that motion. As a result of the state court

action, the pleading stage of the litigation is now over, and discovery has begun. During

the hearing, the state court also stated that it didn’t foresee an issue with having a trial

on the merits in spring or summer 2023, with the case taken precedence over other civil

matters before it. See Second Judicial Court Hearing in Congressional Redistricting

Case, Fla. Channel (July 14, 2022), https://bit.ly/3yIIwyH (relevant statements begin

at 50:30). Thus, staying this case is warranted under Growe v. Emison, 507 U.S. 25 (1993).

                                            V.

         Therefore, the Governor and Secretary ask this Court to grant their motion to

dismiss or, in the alternative, motion to stay.




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                                     Respectfully submitted,

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                     LOCAL RULE 7.1(F) CERTIFICATION

       The undersigned certifies that this memorandum contains 2,190 words,

excluding the case style and certifications.

                                          /s/ Mohammad O. Jazil
                                          Mohammad O. Jazil


                           CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2022, I electronically filed the foregoing with the

Clerk of Court by using CM/ECF, which automatically serves all counsel of record for

the parties who have appeared.

                                          /s/ Mohammad O. Jazil
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